Case 1:08-cV-OlOO7-CBK Document 25 Filed 09/08/09 Page 1 of 1 Page|D #: 74

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edth

N()RTI~I['£RN DIVISION

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[NDUSTR]AL PF<OCESS "I`ECHNOL.OGY. CIV 08-1007
INC,, a North Dai<ola corp<)ration,
Plaintiff,
-vs- ORDER

WEB WATER DEVELOPMENT
ASSOC`!A"["!()N‘ INC., 21 S<)thh Da-il<<)ta

ccj))‘p<)ra‘ilic)n,

Dcf`endam.

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l’ursuant 10 thc Stipuimion 1`0 the purtics`
l'l` IS ORDHRED 1th plaint:if`f“s complaint against the defendant and dcf'endant’$
counterclaim against plaintiff arc dismissed with prejudice and without costs.
D:itcci this Z/_j'tfi`ay 01" Septcmber, 20()9.
BY 'I`HE COURT:

CHARLES B. KORNMANN
Unitc:d Stznes District .ludge

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